                         UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                                       3:08-cr-134

UNITED STATES OF AMERICA,                          )
                                                   )
                        Plaintiff,                 )
                                                   )              PRELIMINARY ORDER
                 v.                                )                OF FORFEITURE
                                                   )
(25) JAVIER MOLINA,                                )
                                                   )
                        Defendant.                 )

        In the Third Superseding Bill of Indictment in this case, the United States sought

forfeiture of property of the Defendant as property that was used or intended to be used to

facilitate the crimes charged, which would be subject to forfeiture under 18 U.S.C. § 924(d) and

21 U.S.C. §853.

        Defendant subsequently pled guilty to Count One in the Third Superseding Bill of

Indictment and was adjudged guilty of the offense charged in that count. Based on evidence

already in the record, including the Defendant’s plea and admission of the illegal acts alleged in

Count One, the Defendant’s relevant conduct as set forth in the pre-sentence report, and the

Defendant’s affidavit and consent filed with the Government’s motion, the Government has

established the requisite nexus between the property and such offense. Further, in ¶ 23 of his

plea agreement, the Defendant has agreed to forfeit items including all assets seized during the

investigation, all assets listed in the indictment, and all assets listed in any separate list signed by

the Defendant.

        It is therefore ORDERED:

        1. Based upon Defendant’s plea of guilty, the United States is authorized to seize the

following property belonging to Defendant, and it is hereby forfeited to the United States for




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disposition according to law, subject to the provisions of 21 U.S.C. § 853(n):

                One .25 Raven MP25 semi-automatic pistol and ammunition; and,

                One Rossi .38 Special revolver and ammunition.

        2. Pursuant to 21 U.S.C. § 853(n)(1), the government shall publish notice of this order;

notice of its intent to dispose of the property in such manner as the Attorney General may direct;

and notice that any person, other than the Defendant, having or claiming a legal interest in any of

the above-listed forfeited property must file a petition with the Court within thirty days of the

final publication of notice or of receipt of actual notice, whichever is earlier. This notice shall

state that the petition shall be for a hearing to adjudicate the validity of the petitioner’s alleged

interest in the property, shall be signed by the petitioner under penalty of perjury, and shall set

forth the nature and extent of the petitioner’s right, title or interest in each of the forfeited

properties and any additional facts supporting the petitioner’s claim and the relief sought. The

United States may also, to the extent practicable, provide direct written notice to any person

known to have alleged an interest in property that is the subject of this Order of Forfeiture, as a

substitute for published notice as to those persons so notified.

        3. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C. § 853(n).

                                                    Signed: May 30, 2012




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